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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  VICKI TIMPA, INDIVIDUALLY,                      §
  AND AS REPRESENTATIVE OF                        §
  THE ESTATE OF ANTHONY                           §
  TIMPA, AND CHERYLL TIMPA                        §
  INDIVIDUALLY AS NEXT FRIEND                     §
  OF K. T., A MINOR CHILD                         §
        Plaintiffs,                               §
                                                  §
  V.                                              §     CIVIL ACTION NO. 3:16-cv-03089-N
                                                  §
  DUSTIN DILLARD,                                 §
  DANNY VASQUEZ,                                  §
  RAYMOND DOMINGUEZ,                              §
  KEVIN MANSELL                                   §
                                                  §
                                                  §
          Defendants.                             §

                PLAINTIFFS’ OBJECTIONS TO SUBMISSION OF
         ANY QUALIFIED IMMUNITY INSTRUCTION AND ITS RELEVANCE


TO THE HONORABLE JUDGE DAVID GODBEY:

       Vicki Timpa, Individually, and as Representative of the Estate of Anthony Timpa and

Cheryll Timpa, individually, as next friend of K.T., (“Plaintiffs”), and file this their Plaintiffs’

Objections to Submission of Qualified Immunity.

                           FACTS AND PROCEDURAL HISTORY

       In Timpa v. Dillard, 20 F.4th 1020, 1038 (5th Cir. 2021), the Fifth Circuit held:

       Because the state of the law in August 2016 had clearly established that the continued use
       of force against a restrained and subdued subject violates the Fourth Amendment,
       Defendant-Officer Dillard is not entitled to qualified immunity.

       In doing so, the Court of Appeals explained:


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       We recognize that our police officers are often asked to make split-second judgments about
       the use of force, but the Constitution demands that officers use no more force than
       necessary and “hold[s] [them] accountable when they exercise power
       irresponsibly.” Pearson v. Callahan, 555 U.S. 223, 231, 129 S.Ct. 808, 172 L.Ed.2d 565
       (2009).

       Despite the ruling, the parties—including Plaintiffs erroneously—submitted proposed jury

charges and separate objections including opposing submissions on Qualified Immunity.

       Plaintiffs hereby OBJECT to submitting ANY instruction on Qualified Immunity

concerning ANY Defendant.

                              ARGUMENT AND AUTHORITIES

       A. Dustin Dillard does not receive an instruction on qualified immunity.

       The Timpa ruling did not simply determine that there were genuine issues of material fact

to be tried before a jury. The Court of Appeals held as a matter of law that (1) the state of the law

in August 2016 had clearly established that the continued use of force against a restrained and

subdued subject violates the Fourth Amendment and (2) that Defendant Dillard is not entitled to

qualified immunity. It would thus be improvident to pose a question to the jury that the Fifth Court

has already answered. The Court did not merely determine that it was unlawful for an officer to

impose “continued use of force against a restrained and subdued subject,” but that Dillard had, in

fact, employed such force against a “restrained and subdued subject.”

       When Plaintiffs submitted their proposed charge, they had not given due consideration to

the Court’s explicit finding that Dillard had, indeed, used continuous force against a “restrained

and subdued subject.” Because the Court of Appeals found as much as a matter of law, the jury

cannot be instructed on the matter. To do so would usurp the Fifth Circuit’s ruling. General

Universal Systems, Inc. v. HAL, Inc., 500 F.3d 444, 453 (5th Cir. 2007)(“[O]n remand, the district


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court ‘must implement both the letter and the spirit of the appellate court’s mandate and may not

disregard the explicit directives of that court.”

        B. Bystander Defendants do not receive an instruction on qualified immunity.

         Bystander liability is derivative. Blakely v. Kelly, 2020 WL 890383 at *16 (N.D. Tex. Jan

. 21, 2020) citing Cf. Brooks v. Brown, 94 F.3d 655 (table), 1996 WL 460048, at *3 (10th Cir.

Aug. 14, 1996) (“[O]ur conclusion that officers Korkowski and Brown did not use excessive force

forecloses any derivative claim that Rasmussen and Wilson could be liable for failing to intervene

on plaintiff's behalf.”). It is generally accepted that “an officer who is present at the scene and does

not take reasonable measures to protect a suspect from another officer’s use of excessive force

may be liable under section 1983.” Hale v. Townley, 45 F.3d 914, 919 (5th Cir. 1995) (citations

omitted); accord Peña v. City of Rio Grande City, 879 F.3d 613, 621 (5th Cir. 2018). This holding

“is consistent with other circuits’ determination that an officer may be liable under § 1983 under

a theory of bystander liability where the officer ‘(1) knows that a fellow officer is violating an

individual’s constitutional rights; (2) has a reasonable opportunity to prevent the harm; and (3)

chooses not to act.’” Whitley v. Hanna, 726 F.3d 631, 646 (5th Cir. 2013) (quoting Randall v.

Prince George's Cnty., Md., 302 F.3d 188, 204 (4th Cir. 2002); footnote and citations omitted).

These other defendants do not thus get to relitigate qualified immunity either. There are only fact

issues concerning whether they acquiesced to Dillard’s excessive use of force. Timpa, 20 F.4th at

1039.

        C. Qualified immunity is no longer relevant.

        Federal Rule of Evidence 401 states evidence is “relevant” if (a) it has any tendency to

make a fact more or less probable than it would be without the evidence; and (b) the fact is of


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consequence in determining the action. Federal Rule of Evidence 402 states that “[r]elevant

evidence is admissible” unless prohibited by the Constitution, statute or rule. Here the Court’s QI

ruling eviscerates its relevance. Its existence or non-existence is no longer a matter of

“consequence in determining the action.” FED. R. EVID 402(b).

                                         CONCLUSION

       The jury instructions in this action are much simpler now. There are effectively only three

issues now: whether there was excessive force and bystander liability; and what damages to assess.

As such, QI is likewise irrelevant. Qualified immunity is dead in this case and cannot be

resurrected.


                                              Respectfully submitted,

                                       By:    /s/ Geoff J. Henley
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                                              ATTORNEYS FOR PLAINTIFFS

                                                      /s/ Geoff J. Henley
                                                      Geoff J. Henley

                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on this the 14th day of July 2023, a true and correct
copy of the foregoing was served on all counsel of record via electronic submission through the
ECF system pursuant to the Federal Rules of Civil Procedure.

                                             /s/ Geoff J. Henley


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                                    Geoff J. Henley




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